EXHIBIT A
From: Anthony DiPietro <dipietrolaw@yahoo.com>
Sent: Monday, June 5, 2023 9:44 AM
To: BTF-ExecAssistant (BOP) <BTF-ExecAssistant@bop.gov>
Subject: [EXTERNAL] Request for Medical Attention/Update: Vittorio Amuso (38740-079)


Good morning:

Hope all is well. We kindly write with great concern for our
client, Vittorio Amuso (38740-079). Based upon information and belief,
Mr. Amuso has not contacted his family in recent weeks and has been
confined to his cell for an extended period of time due to an institutional
lockdown. Given his advanced age (88) and medical conditions, it is
important that Mr. Amuso be provided access to his family and time outside
of his cell. We kindly ask that an update be provided regarding his
mental/physical wellbeing and some information regarding the anticipated
length of the current lockdown. Also, if accommodations can be made, that
he be soon provided a brief phone call to his family. Your time and attention
are greatly appreciated. Thank you.


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information intended only for the individual or entity named in the message. If this
communication was received in error, please notify us by reply e-mail and delete the
original message.
Thank you but unfortunately that form is not current or from FCC Butner. He will have to do
another one, and he needs to use the proper release of information forms depending on what
he is authorizing staff to release. General information is one form, medical information is
another form. he can obtain those forms from his unit team and/or medical depending which
one he is needing.
From: Anthony DiPietro <dipietrolaw@yahoo.com>
Sent: Monday, June 5, 2023 10:03 AM
To: BUX-ExecAssistant-S (BOP) <BUX-ExecAssistant-S@bop.gov>
Subject: Re: [EXTERNAL] Request for Medical Attention/Update: Vittorio Amuso (38740-079)

Thank you for the timely response. Please find attached a consent form
previously executed by Mr. Amuso, permitting the release of information to
our office. Our only concern is his current well-being (and we understand
that other information cannot be provided for institutional safety and
security reasons). Thank you.

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On Monday, June 5, 2023 at 09:56:34 AM EDT, BUX-ExecAssistant-S (BOP) <bux-execassistant-
s@bop.gov> wrote:


Greetings,
Without his written consent, staff are not authorized to release any information on this inmate
due to privacy laws. As for the other questions, due to the safety and security of the institution
we are not authorized to release institution operation details. Thank you.
On Monday, June 5, 2023, 10:50 AM, BUX-ExecAssistant-S (BOP) <BUX-ExecAssistant-
S@bop.gov> wrote:

 I will forward your concerns to the proper department. Thank you.

 From: Anthony DiPietro <dipietrolaw@yahoo.com>
 Sent: Monday, June 5, 2023 10:14 AM
 To: BUX-ExecAssistant-S (BOP) <BUX-ExecAssistant-S@bop.gov>
 Subject: Re:
 [EXTERNAL] Request for Medical Attention/Update: Vittorio Amuso (38740-079)

 I understand and appreciate your time. Can you please forward my
 concerns to his unit team/counselor to ensure that he is provided adequate
 attention during the lockdown given his advanced age and condition. Also,
 if an accommodation can be made that he briefly calls his family this week.
 Thank you.

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 On Monday, June 5, 2023 at 10:07:35 AM EDT, BUX-ExecAssistant-S (BOP) <bux-execassistant-
 s@bop.gov> wrote:
